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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

     In re:                                                       Chapter 11
                                         1
     FTX TRADING LTD., et al.,                                    Case No. 22-11068 (JTD)

              Debtors.                                            (Jointly Administered)

     ALAMEDA RESEARCH LLC, FTX
     TRADING LTD., WEST REALM SHIRES,
     INC., AND WEST REALM SHIRES
     SERVICES INC. (D/B/A FTX.US),

              Plaintiffs,

              v.                                                  Adv. Pro. No. 23-50419 (JTD)
     DANIEL FRIEDBERG,

              Defendant.
     ALAMEDA RESEARCH LTD. and FTX
     TRADING LTD.,

              Plaintiffs,

              - against -                                          Adv. Pro. No. 23-50444 (JTD)
     PLATFORM LIFE SCIENCES INC., LUMEN
     BIOSCIENCE, INC., GREENLIGHT
     BIOSCIENCES HOLDINGS, PBC,
     RIBOSCIENCE LLC, GENETIC
     NETWORKS LLC, 4J THERAPEUTICS
     INC., LATONA BIOSCIENCES GROUP,
     FTX FOUNDATION, SAMUEL BANKMAN-
     FRIED, ROSS RHEINGANS-YOO, and
     NICHOLAS BECKSTEAD,

              Defendants.


1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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    FTX TRADING LTD., MACLAURIN
    INVESTMENTS LTD., f/k/a ALAMEDA
    VENTURES LTD., and WEST REALM
    SHIRES SERVICES, INC.,

             Plaintiffs,

             -against-                           Adv. Pro. No. 23-50492 JTD
    LAYERZERO LABS LTD., ARI LITAN, and
    SKIP & GOOSE LLC,

             Defendants.
    ALAMEDA RESEARCH LLC, ALAMEDA
    RESEARCH LTD., FTX TRADING LTD.,
    WEST REALM SHIRES, INC., and WEST
    REALM SHIRES SERVICES INC. (d/b/a
    FTX.US),

             Plaintiffs,

             v.                                  Adv. Pro. No. 23-50584 (JTD)

    ALLAN JOSEPH BANKMAN and
    BARBARA FRIED,

             Defendants.
    FTX TRADING LTD. and
    WEST REALM SHIRES SERVICES, INC.,

             Plaintiffs,

             - against -                         Adv. Pro. No. 23-50585 (JTD)
    MICHAEL BURGESS, HUY XUAN
    “KEVIN” NGUYEN, JING YU “DARREN”
    WONG, MATTHEW BURGESS, LESLEY
    BURGESS, 3TWELVE VENTURES LTD.,
    and BDK CONSULTING LTD.,

             Defendants.




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FTX TRADING LTD. and MACLAURIN
INVESTMENTS LTD.,

         Plaintiffs,

         -against-                                      Adv. Pro. No. 23-50437 (JTD)
LOREM IPSUM UG, PATRICK GRUHN, ROBIN
MATZKE, and BRANDON WILLIAMS,

         Defendants.

              NOTICE OF AGENDA FOR HEARING SCHEDULED FOR
      NOVEMBER 15, 2023, AT 1:00 P.M. (ET), BEFORE THE HONORABLE JOHN T.
     DORSEY AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT
      OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 5TH FLOOR,
              COURTROOM NO. 5, WILMINGTON, DELAWARE 19801

        ALL PARTICIPANTS, INCLUDING ATTORNEYS INTENDING
  TO PRESENT AT THE HEARING AND WITNESSES, MUST BE PHYSICALLY
    PRESENT IN THE COURTROOM. ANY NON-PARTICIPANT MAY VIEW
THE HEARING VIA ZOOM BY REGISTERING IN ADVANCE AT THE LINK BELOW
                BY NOVEMBER 15, 2023 AT 11:00 A.M. (ET)

           Non-participants, please use the following link to register for this hearing:

     https://debuscourts.zoomgov.com/meeting/register/vJIsd-ioqjojEsYuapfY9EU_sIl62Uyidt8

          After registering your appearance by Zoom, you will receive a confirmation
                    email containing information about joining the hearing.

                       Topic: FTX Trading Ltd., et al. - Case No. 22-11068 (JTD)
                              When: November 15, 2023 at 1:00 p.m. (ET)

           YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM
               OR YOU WILL NOT BE ALLOWED INTO THE MEETING.


ADJOURNED MATTERS:

1.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [FTX Trading
         Ltd. et al. v. LayerZero Labs Ltd. et al., Adv. No. 23-50492 (JTD) – Adv. D.I. 3, filed on
         September 14, 2023]

         Status: On October 23, 2023, a Case Management Plan and Scheduling Order was entered.
         Accordingly, a hearing on this matter is no longer required.


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2.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Alameda
         Research LLC et al. v. Bankman et al., Adv. No. 23-50584 (JTD) – Adv. D.I. 5, filed on
         September 21, 2023]

         Status: This matter is adjourned to a date to be determined.

3.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [FTX Trading
         Ltd. et al. v. Burgess et al., Adv. No. 23-50585 (JTD) – Adv. D.I. 5 & 6, filed on October
         27, 2023]

         Status: On November 6, 2023, a Case Management Plan and Scheduling Order was
         entered. Accordingly, a hearing on this matter is no longer required.

4.       Motion of Island Air Capital and Paul F. Aranha for Relief from the Automatic Stay, to the
         Extent Applicable, and Related Relief [D.I. 2664, filed on September 21, 2023]

         Status: This matter is adjourned to the hearing scheduled for December 13, 2023 at 1:00
         p.m. (ET).

5.       Joint Omnibus Motion of the Debtors and the Official Committee of Unsecured Creditors
         Pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1 for an Order Authorizing the
         Issuance of Subpoenas for Discovery from Silicon Valley Accountants, Silvergate Bank,
         and Evolve Bank & Trust [D.I. 1874, filed on July 17, 2023]

         Status: This matter is adjourned to the hearing scheduled for December 13, 2023 at 1:00
         p.m. (ET).

6.       Motion of Debtors for Entry of an Order Pursuant to Bankruptcy Rule 2004 and Local Rule
         2004-1 Authorizing Examination [D.I. 3329, filed on October 20, 2023]

         Status: This matter is adjourned to the hearing scheduled for December 13, 2023 at 1:00
         p.m. (ET)

RESOLVED MATTERS:

7.       United States Trustee’s Motion to Compel the Ad Hoc Committee of Non-U.S. Customers
         of FTX.com to Comply with the Court’s Order Concerning the Verified Statement of
         Eversheds Sutherland (US) and Morris, Nichols, Arsht & Tunnell LLP Pursuant to
         Bankruptcy Rule 2019 [D.I. 2745, filed on September 28, 2023]

         Status: The parties have resolved this matter and intend to file a revised form of order
         under certification of counsel prior to the hearing.

8.       Motion of Debtors for Entry of an Order Further Extending the Time Period Within Which
         the Debtors May File Notices to Remove Actions Pursuant to 28 U.S.C. § 1452 and Rules
         9027 and 9006 of the Federal Rules of Bankruptcy Procedure [D.I. 3023, filed on
         October 6, 2023]
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         Status: On October 25, 2023, the Court entered an order granting the relief requested.
         Accordingly, a hearing regarding this matter is not required.

9.       Motion of Debtors for Entry of an Order Pursuant to Bankruptcy Rule 2004 and Local Rule
         2004-1 Authorizing Examination [D.I. 3369, filed on October 25, 2023]

         Status: This matter is withdrawn at D.I. 3716.

10.      Motion of Debtors for Entry of an Order Dismissing the Chapter 11 Cases of Debtors
         Liquid Financial USA, Inc., LiquidEX, LLC, Zubr Exchange Limited and DAAG Trading,
         DMCC [D.I. 3375, filed on October 25, 2023]

         Status: On November 9, 2023, a certification of counsel has been filed and an order has
         been submitted for entry. Accordingly, a hearing regarding this matter is not required
         unless the Court has any questions.

MATTERS GOING FORWARD:

11.      Amended Motion of Debtors to Enter into, and Perform Their Obligations Under, the
         Reimbursement Agreements [D.I. 3373, filed on October 25, 2023]

         Response Deadline: November 8, 2023 at 4:00 p.m. (ET); extended for the Office of the
         United States Trustee to November 10, 2023 at 4:00 p.m. (ET)

         Responses Received:

         A.       Statement and Reservation of Rights of the Official Committee of Unsecured
                  Creditors in Response to Amended Motion of Debtors to Enter Into, and Perform
                  Their Obligations Under, the Reimbursement Agreements [D.I. 3697, filed on
                  November 8, 2023]

         B.       Objection of Pat Rabbitte to Amended Motion of Debtors to Enter into, and Perform
                  Their Obligations Under, the Reimbursement Agreements [D.I. 3708, filed on
                  November 8, 2023]

         C.       United States Trustee’s Objection to Amended Motion of Debtors to Enter into, and
                  Perform Their Obligations Under, the Reimbursement Agreements [D.I. 3715, filed
                  on November 10, 2023]

         Related Documents:

         A.       Motion of Debtors to Enter Into, and Perform Their Obligations Under, the
                  Reimbursement Agreements [D.I. 2238, filed on August 23, 2023]

         B.       Declaration of John J. Ray III in Support of Amended Motion of Debtors to Enter
                  Into, and Perform Their Obligations Under, the Reimbursement Agreements
                  [D.I. 3700, filed on November 8, 2023]
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         C.       Debtors’ Reply in Support of Amended Motion of Debtors to Enter Into, and
                  Perform Their Obligations Under, the Reimbursement Agreements [D.I. 3724, filed
                  on November 12, 2023]

         D.       Joinder and Statement of the Ad Hoc Committee of Non-US Customers of
                  FTX.com in Support of Amended Motion of Debtors to Enter Into, and Perform
                  Their Obligations Under, the Reimbursement Agreements [D.I. 3725, filed on
                  November 12, 2023]

         Status: This matter is going forward.

ADVERSARY MATTERS:

12.      Notice of Pretrial Conference in an Adversary Proceeding [Alameda Research LLC et al.
         v. Friedberg, Adv. No. 23-50419 (JTD) – Adv. D.I. 7, filed on July 26, 2023]

         Related Documents:

         A.       Stipulation for an Extension of Time for Defendant to Respond to Complaint
                  [Alameda Research Ltd. et al. v. Platform Life Sciences Inc. et al., Adv. No. 23-
                  50444 (JTD) – Adv. D.I. 8, filed on September 27, 2023]

         B.       Certification of Counsel [Alameda Research Ltd. et al. v. Platform Life Sciences
                  Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 9, filed on October 4, 2023]

         C.       Order Approving Second Stipulation for Extension of Time for Defendant to
                  Respond to Complaint [Alameda Research Ltd. et al. v. Platform Life Sciences Inc.
                  et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 10, entered on October 6, 2023]

         D.       Certification of Counsel [Alameda Research Ltd. et al. v. Platform Life Sciences
                  Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 19, filed on November 3, 2023]

         E.       Order Approving Stipulation Regarding Deadlines for Answer and Motion to
                  Dismiss [Alameda Research Ltd. et al. v. Platform Life Sciences Inc. et al., Adv.
                  No. 23-50444 (JTD) – Adv. D.I. 20, entered on November 6, 2023]

         Status: This matter is going forward.

13.      Motion of Platform Life Sciences, Inc., a Canadian Corporation, to Dismiss Complaint for
         Lack of Personal Jurisdiction Pursuant to Rule 12(b)(2) [Alameda Research Ltd. et al. v.
         Platform Life Sciences Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 35, filed on
         September 15, 2023]

         Response Deadline: September 29, 2023 at 4:00 p.m. (ET)




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         Responses Received:

         F.       Plaintiffs’ Opposition to Defendant Platform Life Sciences, Inc.’s Motion to
                  Dismiss for Lack of Personal Jurisdiction [Alameda Research Ltd. et al. v. Platform
                  Life Sciences Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 41, filed on
                  September 29, 2023]

         Related Documents:

         A.       Declaration of Dr. Edward J. Mills in Support of Motion Under Rule 12(b)(2) to
                  Dismiss Complaint for Lack of Personal Jurisdiction on Behalf of Platform Life
                  Sciences, Inc., a Canadian Corporation [Alameda Research Ltd. et al. v. Platform
                  Life Sciences Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 36, filed on
                  September 15, 2023]

         B.       Declaration of Matthew B. McGuire in Support of Plaintiffs’ Opposition to
                  Defendant Platform Life Sciences Inc.’s Motion to Dismiss the Complaint for Lack
                  of Personal Jurisdiction [Alameda Research Ltd. et al. v. Platform Life Sciences
                  Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 42, filed on September 29, 2023]

         C.       Reply of Platform Life Sciences, Inc., a Canadian Corporation, to Plaintiffs’
                  Opposition to Motion to Dismiss Complaint for Lack of Personal Jurisdiction
                  Pursuant to Rule 12(b)(2) [Alameda Research Ltd. et al. v. Platform Life Sciences
                  Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 45, filed on October 6, 2023]

         D.       Supplemental Declaration of Dr. Edward J. Mills in Support of Motion Under Rule
                  12(b)(2) to Dismiss Complaint for Lack of Personal Jurisdiction on Behalf of
                  Platform Life Sciences, Inc., a Canadian Corporation [Alameda Research Ltd. et al.
                  v. Platform Life Sciences Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 46, filed
                  on October 6, 2023]

         E.       Notice of Filing Corrected Exhibit to Declaration of Matthew B. McGuire in
                  Support of Plaintiffs’ Opposition to Defendant Platform Life Sciences, Inc.’s
                  Motion to Dismiss the Complaint for Lack of Personal Jurisdiction [Alameda
                  Research Ltd. et al. v. Platform Life Sciences Inc. et al., Adv. No. 23-50444 (JTD)
                  – Adv. D.I. 47, filed on October 11, 2023]

         F.       Notice of Rescheduled Hearing Date [Alameda Research Ltd. et al. v. Platform Life
                  Sciences Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 52, filed on October 18,
                  2023]

         G.       Letter to the Honorable John T. Dorsey from Platform Life Sciences, Inc.
                  Regarding Oral Argument Scheduled for October 24th at 10:00 a.m. (ET) on
                  Motions to Dismiss [Alameda Research Ltd. et al. v. Platform Life Sciences Inc. et
                  al., Adv. No. 23-50444 (JTD) – Adv. D.I. 55, filed on October 23, 2023]



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         H.       Letter to the Honorable John T. Dorsey from the Debtors in Response to Platform
                  Life Sciences, Inc.’s Letter Regarding the Hearing Scheduled for October 24, 2023,
                  and the Pending Motions to Dismiss [Alameda Research Ltd. et al. v. Platform Life
                  Sciences Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 56, filed on October 23,
                  2023]

         Status: The matter is going forward.

14.      Motion of Platform Life Sciences, Inc., a Delaware Corporation, to Dismiss Complaint for
         Failure to State a Claim for Relief Pursuant to Rule 12(b)(6) [Alameda Research Ltd. et al.
         v. Platform Life Sciences Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 37, filed on
         September 15, 2023]

         Response Deadline: September 29, 2023 at 4:00 p.m. (ET)

         Responses Received:

         A.       Plaintiffs’ Response to Platform Life Sciences, Inc.’s Motion to Dismiss for Failure
                  to State a Claim [Alameda Research Ltd. et al. v. Platform Life Sciences Inc. et al.,
                  Adv. No. 23-50444 (JTD) – Adv. D.I. 43, filed on September 29, 2023]

         Related Documents:

         A.       Notice of Rescheduled Hearing Date [Alameda Research Ltd. et al. v. Platform Life
                  Sciences Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 52, filed on October 18,
                  2023]

         B.       Letter to the Honorable John T. Dorsey from Platform Life Sciences, Inc.
                  Regarding Oral Argument Scheduled for October 24th at 10:00 a.m. (ET) on
                  Motions to Dismiss [Alameda Research Ltd. et al. v. Platform Life Sciences Inc. et
                  al., Adv. No. 23-50444 (JTD) – Adv. D.I. 55, filed on October 23, 2023]

         C.       Letter to the Honorable John T. Dorsey from the Debtors in Response to Platform
                  Life Sciences, Inc.’s Letter Regarding the Hearing Scheduled for October 24, 2023,
                  and the Pending Motions to Dismiss [Alameda Research Ltd. et al. v. Platform Life
                  Sciences Inc. et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 56, filed on October 23,
                  2023]

         Status: The matter is going forward.

15.      Motion for Protective Order [FTX Trading Ltd. et al. v. Lorem Ipsum UG et al., Adv. No.
         23-50437 (JTD) – Adv. D.I. 35, filed on November 8, 2023]

         Response Deadline: November 14, 2023.

         Responses Received: None.

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         Related Documents:

         A.       Appendix in Support of Motion for Protective Order Staying Discovery [FTX
                  Trading Ltd. et al. v. Lorem Ipsum UG et al., Adv. No. 23-50437 (JTD) – Adv.
                  D.I. 36, filed on November 8, 2023]

         Status: The matter is going forward.

Dated: November 13, 2023                          LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                                  /s/ Matthew R. Pierce
                                                  Adam G. Landis (No. 3407)
                                                  Kimberly A. Brown (No. 5138)
                                                  Matthew R. Pierce (No. 5946)
                                                  919 Market Street, Suite 1800
                                                  Wilmington, Delaware 19801
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                                                  -and-

                                                  SULLIVAN & CROMWELL LLP
                                                  Andrew G. Dietderich (admitted pro hac vice)
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                                                  Brian D. Glueckstein (admitted pro hac vice)
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                                                  Counsel for the Debtors
                                                  and Debtors-in-Possession




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